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 6
                          UNITED STATES DISTRICT COURT
 7                               DISTRICT OF ARIZONA
 8 HKB, Inc., an Arizona Corporation,        No. 2:16-cv-03799
   dba Southwest Industrial Rigging,         No. 2:17-cv-00198
 9
10                       Plaintiff,          NOTICE OF WITHDRAWING
   v.                                        PENDING MOTION FOR SUMMARY
11                                           JUDGMENT (STATUTE OF
   Board of Trustees for the Southwest       LIMITATION) AND OF FILING AN
12 Carpenter’s Southwest Trust; et al.,
                                             AMENDED MOTION
13                       Defendants.
14 Board of Trustees for the Southwest
   Carpenter’s Southwest Trust; et al.,      (Assigned to    the   Honorable   Diane   J.
15                                           Humetawa)
                         Plaintiffs,
16 v.
17 HKB, Inc., an Arizona Corporation,
18 dba
   al.
       Southwest Industrial Rigging, et

19
20                      Defendants.

21
22            Plaintiff HKB, Inc., dba Southwest Industrial Rigging (“Southwest”) hereby

23 provides notice that, to avoid unnecessary litigation expense, Southwest is withdrawing
24 its pending Motion for Summary Judgment (Statute of Limitation), filed on February
25 14, 2017 (Dkt. No. 27). That motion contained a short introductory narrative solely to
26 provide this Court with context, but in reaction to portions of that narrative, the
27 Defendants served a series of discovery requests under Rule 54(d). To avoid needless
28 expense and delay from unnecessary discovery, Southwest withdraws that motion and is

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 1 filing a new motion that eliminates the portions of the narrative that triggered
 2 Defendants' Rule 54(d) discovery requests.
 3            To distinguish the new motion from the old (withdrawn) motion, the new motion
 4 is captioned as an Amended Motion for Summary Judgment (Statute of Limitation).
 5            RESPECTFULLY SUBMITTED 15th day of March 2017.
 6                                               STINSON LEONARD STREET LLP
 7
                                          By:    /s/ James E. Holland, Jr.
 8
                                                 James E. Holland, Jr.
 9                                               Javier Torres
                                                 1850 North Central Avenue, Suite 2100
10                                               Phoenix, Arizona 85004-4584
                                                 Attorneys for Southwest Industrial Rigging
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                                     CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on March 15, 2017 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
 4
     notice of the electronic filing to:
 5
 6            Daniel Shanley
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 9
10
11                                              /s/ Celia Munguia

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